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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF INDIANA

                                                      )
 JOHN DOE                                             )   CASE NO. 1:20-cv-00039-HAB-SLC
                                                      )
                                Plaintiff,            )
                                                      )   JUDGE HOLLY A. BRADY
          -v-                                         )
                                                      )
 INDIANA WESLEYAN UNIVERSITY                          )
                                                      )
                                                      )
                                Defendant.            )

         PLAINTIFF JOE DOE’S EMERGENCY MOTION FOR A TEMPORARY
                            RESTRAINING ORDER

         Pursuant to Fed. R. Civ. P. 65(b), Plaintiff John Doe (“John”), by and through counsel,

requests that this Court enter an emergency temporary restraining order forcing Defendant Indiana

Wesleyan University (“IWU”) to contact Jane Roe (“Jane”) to verify the truth of her assertion,

revealed in a document IWU produced in expedited discovery, that Jane is HIV-positive.

         John was unaware of this assertion until a few days ago, when his counsel discovered the

document in expedited discovery, but he is now gravely concerned that Jane may have exposed

him to HIV. Even worse, it appears that IWU has known of this possibility for months but never

informed him of it, despite knowing that he suffers from a serious medical condition and has been

quarantined at home with his family for weeks during the COVID-19 pandemic.

         Despite requests by John’s counsel, IWU refuses to contact Jane to require her to verify

her HIV status. Absent a temporary restraining order directing IWU to do so, John will be forced

to break quarantine to seek medical testing, potentially exposing himself to the novel coronavirus.

With a serious preexisting health condition, John is especially vulnerable and will face irreparable




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harm if forced to seek medical attention in the midst of a pandemic. IWU can avoid this by simply

contacting Jane and requiring her to verify her HIV status.

         Pursuant to Local Rules 7-1(b)(4) and 65-1(b), John submits a Brief in Support of this

emergency Motion. Attached as Exhibit 1 is John’s Affidavit in Support. For the reasons set forth

above and contained in John’s supporting Brief and Affidavit, John prays that this Court grant his

Motion and enter a temporary restraining order against IWU.



                                             Respectfully Submitted,

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           BRIEF IN SUPPORT OF EMERGENCY MOTION FOR TEMPORARY
                             RESTRAINING ORDER

  I.     FACTUAL BACKGROUND

         John incorporates the facts stated in his Verified Complaint and in his Motion for a

Preliminary Injunction as if restated herein.

         After this Court granted John’s Motion for Expedited Discovery, IWU produced

documents in response to John’s Request for Production. Buried in IWU’s production was a copy

of an IWU Incident Reporting Form completed on December 11, 2019 by IWU Associate

Professor Anneke Stasson. See IWU000099 (attached as Exhibit 2). At a time when she was

requesting incomplete grades for her fall semester, Jane reported to Ms. Stasson that she believed

she had been raped, and Ms. Stasson stated: “[Jane] then told me that she had been tested for STDs

and she tested positive for HIV. It makes me really worried to think that the guy who gave her

HIV is still on this campus.”

         As the document’s footer makes clear, Dean Andrew Parker, the sole investigating/decision

making official in John’s case, reviewed and “modified” this report the next day, December 12,

2019, the very same day that he met with John to deliver his decision to expel John for at least a

semester. Not only did Dean Parker choose not to consider Jane’s report in his decision-making

process, as indicated by a note at the top of the document, he also said nothing whatsoever about

this very serious assertion when he met with John later that day, even though he knew full well

that John already suffered from a serious medical condition that was causing him seizures.

       In fact, for four months now, IWU has had this document in its possession, with an

unverified suggestion that Jane, and by implication, John, have HIV, yet the university did nothing

to let John know about it. In fact, it appears that IWU never investigated Jane’s assertion that she

had STD, a failure that shocks the conscience.


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       On top of all the other emotional trauma in his life right now, John is completely blindsided

by this revelation and understandably terrified. See Doe Affid. (Ex. 1). He knows that he was not

HIV-positive at the time that he and Jane engaged in sexual intercourse. But if Jane is HIV positive,

he may well have contracted the virus from her. To learn from a document hidden in the midst of

IWU’s production that he could be infected with HIV was terrifying, to say the least. Given that

John has a serious preexisting health issues, he may be at greater risk of infection from HIV. The

situation is made all the more dire by the present COVID-19 crisis, to which John, as a person with

serious underlying health conditions, is especially vulnerable. He has been quarantined at home

with his family for weeks now.

       Upon discovering this document, John’s counsel contacted IWU’s counsel and immediately

requested that IWU contact Jane to verify with medical documentation the truth of her statement

that she has HIV to avoid the need to be tested at a medical facility. See S. Stone letter to A. Shelby

(Apr. 1, 2010) (Ex. 3). IWU refused to do so. See A. Shelby email to S. Stone (Ex. 4). Instead,

recklessly downplaying John’s concerns and the urgency of this development, IWU recommended

that John order an HIV test online. Counsel immediately informed IWU’s counsel that John would

be filing a TRO.

       IWU’s alleged solution presents, quite literally, a life-threatening situation for John. Months

have passed since John and Jane’s encounter, and every day is a day that John should be taking

appropriate HIV medication if he is indeed HIV-positive. With IWU refusing to contact Jane,

John’s only option is to seek medical attention in the midst of a global health crisis.




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 II.     LAW AND ARGUMENT

         John is compelled to seek emergency relief from this Court due to IWU’s refusal to act. He

prays that this Court grant his emergency Motion for a Temporary Injunction and order IWU to

contact immediately Jane and require her to verify the truth of her claim that she has HIV by

providing medical documentation.

         Temporary restraining orders are governed by Fed. R. Civ. P. 65(b), which states:

          A temporary restraining order may be granted without written or oral notice to
          the adverse party or that party's attorney only if (1) it clearly appears from
          specific facts shown by affidavit or by the verified complaint that immediate
          and irreparable injury, loss, or damage will result to the applicant before the
          adverse party or that party's attorney can be heard in opposition, and (2) the
          applicant's attorney certifies to the court in writing the efforts, if any, which
          have been made to give the notice and the reasons supporting the claim that
          notice should not be required.

       A restraining order is “an extreme and drastic remedy that should only be granted upon a

clear showing of need.” Lewis v. Silverman, 2005 U.S. Dist. LEXIS 20347 *4 (N.D. Ind. 2005).

The standards that govern temporary restraining orders the same as those that govern injunctive

relief. Lundeen v. Kelly, 2012 U.S. Dist. LEXIS 126669 *9 (S.D. Ind. 2012). A plaintiff must

demonstrate that: (1) he is likely to succeed on the merits; (2) without a restraining order, he would

be subject to irreparable harm; (3) the balance of harms weighs in his favor; and (4) relief is in the

public interest. Id. Upon meeting the first elements, the Court then must balance the harm to the

plaintiff if an order is not granted, versus the defendant’s harm if such an order is granted. Id.

    A. John Is Likely To Succeed On The Merits Of His Claims.

         As detailed in John’s motion for a preliminary injunction, which John incorporates herein

by reference, John already was likely to succeed on the three claims he has alleged against IWU:

a Title IX violation, a violation of basic fairness, and a breach of the covenant of good faith and

fair dealing. This outcome is even more certain now that it is clear that IWU deliberately covered


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up a matter of potential life and death in order to ensure the outcome it wanted in John’s case,

showing more concern about ensuring his suspension, regardless of the evidence, than his health

and well-being.

         Indeed, while likelihood of success remains one of the factors courts must consider in

deciding requests for emergency injunctive relief, the merit of this particular motion is, in many

respects, independent of John’s likely success. Given the magnitude of the irreparable harm John

will suffer otherwise, the relief sought by motion is even more pressing than the outcome of this

lawsuit. This motion raises an urgent matter with potential life or death consequences.

         Nonetheless, it is important to note that John is even more likely to prevail on his Title IX

claim in light of the new revelation. John did not just endure a biased and inquisitorial process that

was driven by pressure to show results in sexual assault investigations, denied the chance to present

a case, cross-examine witnesses, and full appeal rights. IWU was so determined to believe Jane

and not John that it covered up Jane’s explosive accusation that she had HIV, did nothing to

investigate it and nothing to warn John that he might be at risk, even though IWU knew John had

a serious medical condition. IWU never tried to determine whether Jane’s assertion might be false

and how that might reflect on Jane’s credibility. As if all that was not enough, the highest levels

of IWU leadership directly intervened in John’s case, in violation of the Handbook, to order that

his request for a Case Appeal be denied.

         Similarly, John is even more likely to succeed on his basic fairness claim in light of this

revelation. Not only was IWU’s inquisitorial process entirely devoid of fundamental protections,

it is now clear that IWU has known for months that Jane was claiming she was HIV-positive but

chose to do nothing with this information, such as attempting to verify it or informing John he may

have been infected, despite knowing of John’s existing health conditions.



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         John is also even more likely to succeed on the merits of his good faith and fair dealing

claim, given that IWU covered up the report in which Jane claimed she was HIV-positive and

failed to inform John, much less direct him to be tested and begin treatment if necessary, knowing

full well of John’s serious underlying health conditions. It is hard to image a more striking example

of bad faith.

    B. John Will Suffer Irreparable And Potentially Life Threatening Harm Absent A
       Temporary Restraining Order

         John potentially faces irreparable harm in multiple ways, but none are more critical or dire

than the harm of potential exposure to HIV and COVID-19 now facing him.

         Courts have found irreparable harm present where an individual is “subject to risk of injury,

infection, and humiliation.” See Shapiro v. Cadman Towers, Inc., 51 F.3d 328, 332 (2nd Cir. 1995).

Further, as the COVID-19 pandemic grows, courts every day are concluding that potential

exposure to this virus is a risk of “severe, quite possible fatal infections…[which] constitutes

irreparable harm warranting a TRO.” See Basank v. Decker, 2020 U.S. Dist. LEXIS 53191 *13-

14 (S.D.N.Y. Mar. 26, 2020). Further, “the deprivation of life-sustaining medical services []

certainly constitutes irreparable harm.” Mayer v. Wing, 922 F. Supp. 902, 909 (S.D.N.Y. 1996).

         The revelation that Jane told IWU officials months ago that she is HIV positive puts John

in this kind of imminent danger in multiple ways. John suffers from serious health conditions, yet

without relief from this Court, he will be forced to seek medical treatment to determine his HIV

status in the midst of a pandemic, potentially infecting himself or his family with COVID-19. John

is especially vulnerable to this deadly new virus in light of his existing health conditions, a fact

that IWU carelessly disregards.

         Rather than simply contacting Jane to determine the truth of her statement, IWU has left

John with no choice but to seek immediate medical attention in the midst of a health crisis to


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determine if he is HIV-positive. In a situation where every day and hour counts, there simply is

not time to consider further objection from IWU, as its counsel has made clear it will not take

action without direction of this Court. Moreover, IWU has had months and countless opportunities

to correct this wrong and inform John of Jane’s claim or recommend that he be tested as a result

of his potential exposure to HIV. Instead, IWU did nothing, despite knowing of John’s serious

underlying health condition. IWU simply chose to cover up this information and not to investigate

it or consider how Jane’s statement might reflect on Jane’s credibility if untrue. IWU chose to

recklessly bury the statement in the midst of a lengthy document production. Absent the diligence

of John’s counsel, the statement may never have been found, and John may never have known of

his potential HIV infection until too late. Such inaction constitutes the deprivation of life-

sustaining medical services, which courts have found to be an irreparable harm warranting a

temporary restraining order. See Mayer, 922 F. Supp. at 909.

         IWU would force John, already a vulnerable individual, to break his quarantine and seek

out medical attention during a health crisis so that IWU is not inconvenienced with the burden of

making a phone call. IWU’s proposed alternative solution, that John order a test online and wait

for the results, is offensive and insensitive, particularly when this dilemma was created by IWU’s

callous and deliberate indifference. In this situation, every moment counts, and there is no time to

wait for a test to arrive and then wait to receive results. Nor is it a reasonable alternative for John

to seek in-person medical attention when doing so would potentially expose him to the

coronavirus, an equally dangerous and life-threatening virus. The simple solution is for this Court

to compel IWU to contact Jane immediately and require her to verify her HIV-status through

medical documentation. Otherwise, IWU’s inaction will continue to place John at risk of

imminent, irreparable, life-threatening harm.



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         It is no understatement to characterize as truly life threatening the harm that John would

face by breaking quarantine and risking infection with COVID-19 to seek HIV testing. The

possibility of HIV-infection alone has justifiably terrified John. That fear is only compounded by

the reality that he may need to expose himself to yet another deadly virus to determine his HIV-

status. Beyond the emotional distress being suffered by John at all times since he has learned that

he may be HIV-positive, the risk of exposure to severe and potentially fatal infections can

constitute irreparable harm. See Shapiro at 332; Bansk at *13-14. A restraining order must be

issued in John’s favor.

    C. The Balance of Harms and The Public Interest Weigh In John’s Favor.

         It should go without saying, any potential harm to be suffered by IWU if the restraining

order is issued is slight to none-existent and is drastically outweighed by the harm John will suffer

without relief from this Court. John asks only that this Court compel IWU to contact Jane directly

to require her to provide medical evidence of her HIV status and determine the veracity of her

prior statement. IWU’s obligation can be resolved in a single phone call.

         In contrast, John faces potentially life-threatening harm without this Court’s immediate

intervention. The longer IWU declines to contact Jane, the longer that an HIV infection potentially

afflicting John can cause greater damage. And if IWU is not required to contact Jane, John will be

left with the option of breaking quarantine to seek medical attention in the midst of a nation-wide

crises where medical facilities are overwhelmed and vulnerable to COVID-19 infection. In order

to determine whether he has HIV, John could expose himself or his family to COVID-19 as well.

Further, this is a harm that only exists as a result of IWU’s careless inaction. IWU has had months

to reveal to John his potential exposure, and now tries to wash its hands of the fact that its failure

to act may force John to put himself and his family at risk in the midst of a public health crisis.



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         Finally, the public unquestionably has an interest both in stemming the COVID-19

outbreak and in ensuring that individuals potentially afflicted with the similarly life-threatening

condition of HIV can promptly and accurately learn their status and seek treatment if necessary.

IWU faces no harm whatsoever if the Court provides the emergency injunctive relief requested,

only the minor inconvenience of an uncomfortable phone call. On the other hand, John faces life-

threatening harm, and the public interest undoubtedly is in his favor. John prays that this Court

grant him the relief of a temporary restraining order against IWU.

 III.    CONCLUSION

         John has satisfied the criteria necessary to justify a grant of an emergency temporary

restraining order pursuant to Fed. R. Civ. P. 65. Absent relief, he will be forced to seek medical

attention during a public health crisis to determine if Jane was truthful in claiming she is HIV-

positive. John asks only that IWU be directed to contact Jane to require her to verify her HIV status

by providing medical documentation, an obligation that can easily be resolved with a phone call.

This relief is even more appropriate in light of the fact that IWU has had full knowledge of Jane’s

assertion and John’s serious underlying health conditions for months but did nothing to inform

John of his potential HIV exposure, leaving his counsel to uncover this information.

         For the reasons outlined above and those contained in John’s Affidavit in Support, John

respectfully requests that this Court grant his Motion and enter a temporary restraining order in his

favor.




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                                 CERTIFICATE OF SERVICE

         The undersigned hereby certifies that the foregoing Emergency Motion for a Temporary

Restraining Order was filed electronically this 3rd day of April, 2020. Notice of this filing will be

sent to all parties by operation of the Court’s electronic filing system. Parties not receiving service

through the Court’s electronic filing system will be served by regular U.S. mail. Parties may access

this filing through the Court’s system.


                                                       /s/ Susan C. Stone
                                                       Susan C. Stone




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